Case 2:21-cv-07424-DMG-SHK Document 6 Filed 11/23/21 Page 1 of 1 Page ID #:26




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  8                        UNITED STATES DISTRICT COURT
  9                      CENTRAL DISTRICT OF CALIFORNIA
10
11    EDWARD PALMA,                             Case No. CV 21-07424-DMG-SHK
12
                              Plaintiff,
13                       v.
14                                              JUDGMENT
      ERICA ARNOLD, et al.,
15
16                            Defendants.
17
18
            Pursuant to the Order Re Dismissal of Action, IT IS HEREBY ORDERED
19
      that the above-captioned action is DISMISSED without prejudice.
20
21
22    DATED: November 23, 2021
                                            DOLLY M. GEE
23                                          UNITED STATES DISTRICT JUDGE
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